Case 1:19-cv-22284-RNS Document 15 Entered on FLSD Docket 10/23/2019 Page 1 of 1




                           United States District Court
                                     for the
                           Southern District of Florida

 Steven Lamont Markos, Plaintiff,     )
                                      )
 v.                                   )
                                      ) Civil Action No. 19-22284-Civ-Scola
 Yacht Charters of Miami.com, LLC,    )
 Defendant.                           )

              Order Adopting Report and Recommendations and
                        Granting Default Judgment
       The Court referred Plaintiff Steven Lamont Markos motion for the entry of
 a default judgment to United States Magistrate Judge Edwin G. Torres for a
 report and recommendation. On October 2, 2019, Judge Torres issued a report
 and recommendation, recommending that the Court grant Markos’s motion in
 part and deny it in part. (Rep. & Rec., ECF No. 12.) No objections to the report
 and recommendation have been filed by either party and the time to do so has
 passed.
       Nonetheless, the Court has considered—de novo—Judge Torres’s report,
 the record, and the relevant legal authorities. The Court finds Judge Torres’s
 report and recommendation cogent and compelling. The Court thus adopts the
 recommendation in full (ECF No. 14) and grants in part and denies in part
 Markos’s motion (ECF No. 12) as follows.
       The Court enters judgment in favor of Plaintiff Steven Lamont Markos
 and against Defendant Yacht Charters of Miami.com, LLC, in the total amount
 of $4,868.70 ($2,250.00 in statutory damages; $2,165.00 in attorneys’ fees; and
 $453.70 in costs), for which sum let execution issue. Further, Yacht Charters of
 Miami.com, LLC is enjoined from continuing to infringe on Markos’s rights
 through the unlicensed use of the copyrighted photograph at issue in this case.
       The Court directs the Clerk to close this case. Any pending motions are
 denied as moot.
       Done and ordered at Miami, Florida, on October 21, 2019.

                                           ________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
